




Affirmed and Memorandum Opinion filed July 27, 2006








Affirmed
and Memorandum Opinion filed July 27, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-05-00620-CR

____________

&nbsp;

DAVID WAYNE LEE,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 178th District
Court

Harris County, Texas

Trial Court Cause No.
1012710

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

After a
jury trial, appellant was convicted of the offense of possession of cocaine and
was sentenced on June 1, 2005, to confinement for 25 years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se
notice of appeal.








Appellant=s appointed counsel filed a brief in
which he concludes the appeal is wholly frivolous and without merit.&nbsp; The brief
meets the requirements of Anders v. California, 386 U.S. 738, 87 S.Ct.
1396 (1967), presenting a professional evaluation of the record demonstrating
why there are no arguable grounds to be advanced.&nbsp; See High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy
of counsel=s brief was delivered to appellant.&nbsp; Appellant was advised of the right
to examine the appellate record and file a pro se response.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).&nbsp; On March 17, 2006,
appellant filed a pro se response to the brief filed by counsel.&nbsp; In the
response, appellant raises five issues.

We have
carefully reviewed the record, counsel=s brief, and the issues raised in the
pro se response, and agree the appeal is wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief
would add nothing to the jurisprudence of the state.

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed July
27, 2006.

Panel consists of Justices Anderson, Edelman, and
Frost. 

Do Not Publish C Tex. R. App. P.
47.2(b).





